Case 3:19-cv-00391-BJD-MCR Document 96 Filed 03/05/21 Page 1 of 2 PageID 1273

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

ICONIC CONTENT, LLC, a
Florida limited liability company,
Plaintiff,
Vv. Case No.: 3:19-cv-391-BJD-MCR
MEMEABLE, LLC, AJANI COUNTS,
and HYSON INTERNATIONAL

CORP., a Missouri profit corporation,

Defendants.
/

ORDER OF DISMISSAL
THIS MATTER is before the Court on the Joint Stipulation for Final

Order of Dismissal (Doc. No. 93; Stipulation) filed on February 16, 2021, and
the Notice of Voluntary Dismissal With Prejudice as to Defendant Hyson
International Corp. (Doc. No. 95; Notice) filed on March 2, 2021. In the
Stipulation, Plaintiff and Defendants Ajani Counts and Memeable, LLC
indicate their agreement to dismissal of this cause with prejudice. In the
Notice, Plaintiff advises the Court that it voluntarily dismisses this matter as
to Hyson with prejudice.

Accordingly, it is hereby

ORDERED:

1. The Court’s Order to Show Cause (Doc. No. 94) is DISCHARGED.
Case 3:19-cv-00391-BJD-MCR Document 96 Filed 03/05/21 Page 2 of 2 PagelD 1274

2. This case is DISMISSED with prejudice.
3. The Clerk of the Court is directed to terminate all pending motions
and close the file.

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DONE and ORDERED in Jacksonville, Florida this 5 day of March,

BRIAN J. DAVIS
United States District Judge

Copies furnished to:

Counsel of Record

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